               Case 2:09-cr-00037-MCE Document 34 Filed 09/18/09 Page 1 of 3


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 5
     Attorney for Defendant
 6   RALONDRIA STAFFORD

 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,               ) CR NO. S-09-037 MCE
11                                           )
         Plaintiff,                          )
12                                           ) STIPULATION AND ORDER
                                             ) CONTINUING STATUS CONFERENCE
     v.                                      )
13
                                             ) Date: September 17, 2009
14   RALONDRIA STAFFORD,                     ) Time: 9:00 a.m.
                                             ) Judge: Hon. Morrison C. England, Jr.
15                                           )
         Defendant.                          )
16
                                             )
                                             )
17
                                             )
         IT IS HEREBY stipulated between the UNITED STATES OF AMERICA through its
18
     undersigned counsel, Kyle F. Reardon, Assistant United States Attorney, together with counsel
19

20   for defendant Ralondria Stafford, John R. Manning, Esq., that the status conference presently set

21   for September 17, 2009 be continued to October 15, 2009 at 9:00 a.m., thus vacating the
22
     presently set status conference. Counsel for both parties agree that this is an appropriate
23
     exclusion of time within the meaning of Title 18, United States Code 3161 (h) (7) (B) (iv)
24
     (continuity of counsel/reasonable time for effective preparation) and Local Code T4, and agree to
25

26   exclude time from the date of the filing of the order until the date of the status conference,

27   October 15, 2009.
28




                                                       1
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 1   IT IS SO STIPULATED.
 2
     Dated: September 15, 2009          /s/ John R. Manning
 3                                      JOHN R. MANNING
                                        Attorney for Defendant
 4                                      Ralondria Stafford
 5

 6
     Dated: September 15, 2009          Lawrence G. Brown
 7
                                        Acting United States Attorney
 8
                                  by:   /s/ Kyle F. Reardon
 9                                      KYLE F. REARDON
                                        Assistant U.S. Attorney
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              Case 2:09-cr-00037-MCE Document 34 Filed 09/18/09 Page 3 of 3


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     Attorney for Defendant
 6   RALONDRIA STAFFORD

 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                      ) CR NO. S-09-0037 MCE
11                                                  )
            Plaintiff,                              )
12                                                  ) ORDER TO CONTINUE STATUS
                                                    ) CONFERENCE
13   v.                                             )
                                                    )
14   RALONDRIA STAFFORD,                            )
                                                    )
15                                                  )
            Defendant.                              )
16                                                  )
                                                    )
17                                                  )

18          GOOD CAUSE APPEARING, it is hereby ordered that the September 17, 2009 status
19
     conference be continued to October 15, 2009 at 9:00 a.m. I find that the ends of justice warrant
20
     an exclusion of time and that the defendant’s need for continuity of counsel and reasonable time
21
     to for effective preparation exceeds the public interest in a trial within 70 days. THEREFORE
22

23   IT IS FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. 3161 (h) (7) (B) (iv)
24   and Local Code T4 from the date of this order to October 15, 2009.
25
     DATED: September 17, 2009
26
                                              __________________________________
27                                            MORRISON C. ENGLAND, JR
28
                                              UNITED STATES DISTRICT JUDGE



                                                     3
